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                                    United States District Court
                                           PRETRIAL CONFERENCE
Time: 10:00 – 10:05
Case # 1:16-cv-00375 – AJT/JFA
Date: 3/15/2018


Title:    ANAS ELHADY, et al      v.   CHARLES H. KABLE, et al


DOCKET ENTRY:           Final Pretrial Conference



                           PRESENT:HONORABLE ANTHONY J. TRENGA , Presiding

                                            Janice L. Allen

                                             Deputy Clerk




APPEARANCES:
          Counsel for Plaintiff and Defendant present.


TRIAL:
[X] Case set for trial by JURY on       8/06/2018        at 10:00 a.m.
[ ] Case set for trial by COURT on                  at


The Court orders that all Summary Judgment Motions are to be filed by 5/14/2018; oppositions by 6/13/2018;
and replies to be filed by 6/27/2018. Summary Judgment Motions hearing is set on 7/10/2018 at 10:00 a.m.
